Case 1:15-cv-24363-KMW Document 381 Entered on FLSD Docket 03/30/2021 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                              Case No. 15-cv-24363-WILLIAMS

   MARJAM SUPPLY COMPANY OF FLORIDA, LLC, et al.

          Plaintiffs/ Counter-Defendants,

   vs.

   PLITEQ, INC. and PAUL DOWNEY,

        Defendants/ Counter-Plaintiffs.
   ________________________________/

                                            ORDER

          THIS MATTER is before the Court on Magistrate Judge Jacqueline Becerra’s

   report and recommendation on Defendants/Counter-Plaintiffs’ motions for attorneys’ fees

   and costs (the “Report”). (DE 374). In the thorough and well-reasoned Report, Judge

   Becerra explains that Defendants / Counter-Plaintiffs should be awarded $1,452,430.22

   in attorneys’ fees and $36,710.67 in costs. Plaintiffs / Counter-Defendants filed objections

   to the Report. (DE 380). Upon an independent review of the Report, the objections, the

   record, and applicable case law, it is ORDERED AND ADJUDGED as follows:

          1. The Report (DE 374) is AFFIRMED AND ADOPTED.

          2. Defendants / Counter-Plaintiffs’ motions for attorneys’ fees and bill of costs (DE

             307; DE 308; DE 317; DE 359) are GRANTED IN PART and DENIED IN

             PART.

          3. Defendants / Counter-Plaintiffs are awarded $1,452,430.22 in attorneys’ fees

             and $36,710.67 in costs.

          4. This case remains CLOSED.
Case 1:15-cv-24363-KMW Document 381 Entered on FLSD Docket 03/30/2021 Page 2 of 2




           DONE AND ORDERED in Chambers in Miami, Florida, this 30th day of March,

   2021.




                                          2
